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Last Updated: January 2021
FORM 1 (ND/SD MISS. -$1. 20)
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF MISSISSIPPI
                                         NORTHERN DIVISION
  Jamerial Benson
                                                                                                PLAINTIFF




   v.                                                          CIVIL ACTION
                                                               NO. 3:23-cv-00564-TSL-RPM
   Higher Education Loan Authority of the State of                                              DEFENDANTS
   Missouri d/b/a MOHELA and Navient Corporation




                                      CASE MANAGEMENT ORDER
This Order, including all deadlines, has been established with the participation of all parties and can be
modified only by order of the Court on a showing of good cause supported with affidavits, other evidentiary
materials, or reference to portions of the record.

IT IS HEREBY ORDERED:

    1.   ESTIMATED DAYS OF TRIAL:                               2-3
                                                               ________________

         ESTIMATED TOTAL NUMBER OF WITNESSES:                   6-8
                                                               ________________

         EXPERT TESTIMONY EXPECTED: Yes                 NO. OF EXPERTS:                  4

         Enter explanation (if necessary) here:


    2. ALTERNATIVE DISPUTE RESOLUTION [ADR]. 3LFNRQH

         Alternative dispute resolution techniques appear helpful and will be used in this civil action as follows


         Settlement Conference with Magistrate Judge.




    3. CONSENT TO TRIAL BY UNITED STATES MAGISTRATE JUDGE. 3LFNRQH
         The parties do not consent to trial by a United States Magistrate Judge.
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    4. DISCLOSURE. 3LFNRQH

         The pre-discovery disclosure requirements have been complied with fully.




    5. MOTIONS; ISSUE BIFURCATION. 3LFNRQH

        Staged resolution/bifurcation of the trial issues will not assist in the prompt resolution of this action.




        Early filing of the following motion(s) might significantly affect the scope of discovery or otherwise expedite the resolution of this action:


        Defendant Navient Corporation has already filed its Motion to Dismiss, or in the alternative, for
        Summary Judgement, which Plaintiff has opposed.




    6. DISCOVERY PROVISIONS AND LIMITATIONS.

         A.        Interrogatories are limited to _______
                                                   25     succinct questions.

         B.                                                  25
                   Requests for Production are limited to BBBBBBBBVXFFLQFWTXHVWLRQV

         &                                                  25 succinct questions.
                   5HTXHVWVIRU$GPLVVLRQVDUHOLPLWHGWR_______

         '.        Depositions are limited to the parties, experts, and no more than

                   _______
                      5    fact witness depositions per party without additional approval of the Court.
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         (.       The parties have complied with the requirements of Local Rule 26(f)(2)(B)   regardingdiscovery
                                                                                  26(I(2)(B) regarding  discovery
                  of electronically stored information and have concluded as follows:
                  of electronically stored information and have concluded as follows:
                  To identify and preserve any potential ESI, counsel have alerted their clients to ensure proper
                  protections are in place to prevent deletion of documents or data potentially relevant to this
                  litigation.

                  Unless otherwise agreed, ESI produced in this matter will be in .pdf format or printed and
                  produced in paper format.

                  In the event any privileged information is inadvertently disclosed via ESI, the parties agree
                  that the privilege is not waived.




         ). The court imposes the following further discovery provisions or limitations:

              1. The parties have agreed that defendant may obtain a Fed.R.Civ. P. 35 (L.U.Civ.R. 35) medical examination of the
              plaintiff (within subpoena range of the court) by a physician who has not examined the plaintiff, and that defendant may
              arrange the examination without further order of the court. The examination must be completed in time to comply
              with expert designation discovery deadlines.

        ✔ 2. Pursuant to FED.R.EVID. 502(d), the attorney-client privilege and the work-product protections are not waived by any
              disclosure connected within this litigation pending before this Court. Further, the disclosures are not waived in any other
              federal or state proceeding.

              3. Plaintiff must execute an appropriate, HIPAA-compliant medical authorization.

        ✔ 4. The court desires to avoid the necessity of filing written discovery motions where court participation in an informal
              discussion of the issue might resolve it, even after the parties have been unsuccessful in a good faith attempt to do so.
              Consequently, before a party may serve any discovery motion, counsel must first in good faith as required by Fed. R.
              Civ. P. 37(a)(1). If the attorney conference does not resolve the dispute, counsel must contact the chambers of the
              magistrate judge to request a telephonic conference to discuss the issue as contemplated by Fed. R. Civ. P.16(b)(3)(B)
              (v). Only if the telephonic conference with the judge is unsuccessful in resolving the issue may a party file a discovery
              motion.

              5. Other:
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            Additional information:




    7. SCHEDULING DEADLINES

                                           JURY TRIAL
         A. Trial. This action is set for ___________________           four-week
                                                              during a ____________ term of court

                            October 7, 2024
             beginning on: _____________________,     9:00
                                                  at ________,  a.m.
                                                               ________, in ________________
                                                                             Jackson         ,

                                                District
             Mississippi, before United States _______________       Tom S. Lee
                                                               Judge ______________________. THE

             ESTIMATED
             THE         NUMBER
                 ESTIMATED      OF DAYS
                            NUMBER      FOR FOR
                                    OF DAYS TRIAL IS __________.
                                                TRIAL       2-3 ANY
                                                       IS _______. ANYCONFLICTS
                                                                       CONFLICTSWITH
                                                                                 WITH
             THIS TRIAL DATE MUST BE SUBMITTED IN WRITING TO THE TRIAL JUDGE
             THIS TRIAL DATE MUST BE SUBMITTED IN WRITING TO THE TRIAL JUDGE
             IMMEDIATELY UPON RECEIPT OF THIS CASE MANAGEMENT ORDER.
             IMMEDIATELY UPON RECIEPT OF THIS CASE MANAGEMENT ORDER.

                                                         September 16, 2024
         B. Pretrial. The pretrial conference is set on: _____________________, at ________,
                                                                                   9:00      ________,
                                                                                               a.m.

                 Jackson
             in ________________ , Mississippi, before United States ____________________
                                                                      District

                   Tom S. Lee
             Judge________________________.

                                                           May 1, 2024
         C. Discovery. All discovery must be completed by: _____________________.

         D. Amendments. Motions for joinder of parties or amendments to the pleadings must be

                       January 5, 2024
             filed by: _____________________.

         E. Experts. The parties’ experts must be designated by the following dates:

             1. Plaintiff(s):     February 1, 2024                               .

             2. Defendant(s):     March 1, 2024                                      .
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    8. MOTIONS. All dispositive motions and Daubert-type motions challenging another party's expert

         must be filed by: May 15, 2024                                                     twenty one
                                                         .The deadline for motions in limineBBBBBBBBBBdays

         the pretrial conference; the deadline for responses isBBBBBBBBdays
                                                                fourteen      before the pretrialFRQIHUHQFH




    9. SETTLEMENT CONFERENCE.

                                            March 8, 2024
         A SETTLEMENT CONFERENCE is set on:_____________________,    9:30
                                                                  at ________,  a.m.
                                                                               ________ in

          Jackson
         __________________, Mississippi, before United States Magistrate
                                                               ________________ Judge

         Robert P. Myers, Jr.
         ____________________.

        AN ADDITIONAL
       Seven            SETTLEMENT
             (7) days before          CONFERENCE
                             the settlement        is set the
                                            conference,    on:parties
                                                               _____________________,    at ________,
                                                                      must submit via e-mail            ________,
                                                                                             to the magistrate

        in __________________, Mississippi, before United States __________________ Judge
       judge’s chambers an updated CONFIDENTIAL SETTLEMENT MEMORANDUM. All parties are
        _____________________.
       required to be present at the conference unless excused by the Court. If a party believes the scheduled
        Seven (7) days before the settlement conference, the parties must submit via e-mail to the magistrate
       settlement conference would not be productive and should be cancelled, the party is directed to inform
        judge’s chambers an updated CONFIDENTIAL SETTLEMENT MEMORANDUM. All parties are
       the Court via e-mail of the grounds for their belief at least seven (7) days prior to the conference.
        required to be present at the conference unless excused by the Court. If a party believes the scheduled

         settlement conference would not be productive and should be cancelled, the party is directed to inform

         the Court via e-mail of the grounds for their belief at least seven (7) days prior to the conference.



                                                                September 9, 2024
    10. REPORT REGARDING ADR. On or before (7 days before FPTC) ______________________, the parties

         must report to the undersigned all ADR efforts they have undertaken to comply with the Local Rules or

         provide sufficient facts to support a finding of just cause for failure to comply. See L.U.Civ.R.83.7(f)(3).



SO ORDERED:


December 6, 2023                         /s/ Robert P. Myers, Jr.
                                        ____________________________________ _______________________
DATE                                    UNITED
                                        UNITED STATES
                                                   STATES MAGISTRATE
                                                            MAGISTRATE JUDGE
                                                                       JUDGE
